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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                McALLEN DIVISION


UNITED STATES OF AMERICA                      '
                                              '
v.                                            '       Criminal No. M-20-0240
                                              '
DANIEL SEPULVEDA                              '
EVARISTO SEPULVEDA, III                       '
JUAN INDALECIO GARCIA                         '
JOSE LUIS GARCIA                              '
RENE SEPULVEDA                                '
                                              '
EDGAR YVAN MORENO BARRAGAN                    '
                                              '
                                              '
                                              '

                          NOTICE OF APPEARANCE OF COUNSEL

         The United States gives notice to the Court that government counsel has been

 assigned to this case.

         The Assistant United States Attorney, assigned as government counsel in this case

 is Rick Blaylock, whose mailing address is: 600 E. Harrison, Suite 201, Brownsville, Texas

 78520, and phone number is: (956) 566-2132 and whose facsimile number is: (956) 548-

 2711.

         Please send all future correspondence, notices, orders, and other communications

 regarding    this   case   to   AUSA,    Rick    Blaylock   at      the   following   email:

 Rick.blaylock.jr@usdoj.gov or the mailing address or facsimile number shown above.

                                           Respectfully submitted,

                                           JENNIFER LOWERY
                                           ACTING UNITED STATES ATTORNEY

                                    By:    /s/ Rick Blaylock
                                           Rick Blaylock
                                           Assistant United States Attorney
                                           Texas Bar No. 24103294
                                           Federal Bar No. 3544108
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